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                   UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     No. 1:18'CR-48

                                             (Judge Wilson)

                                             (electronicallY filed)
CIIARLES NOLDEN,
                             Defendant

                               PLEA AGREEMENT

        The following PIea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania'

A. Violation      Penalties, and Dismissal of Other Counts

    1         Waiver of Indi ctment/Pl e a ofGuittv. The defendant agrees

to waive indictment by a grand jury and plead guilty to a felony

superseding Information, which will be filed against the defendant by

the United States Attorney for the Middle District of Pennsylvania'

That Information will charge the defendant with a violation of Title 18

u.sc.    $g22(g), felon   in possession of a firearm and a violation of Title   18


U.S.C. $924(c), possession of a firearm in furtherance of
                                                          drug trafficking'
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The maximum penalty for being a felon in possession of a firearm is

imprisonment for a period of 10 years, a fine of $250,000, a maximum

term of supetvised release of 3 years. to be determined by the court,

which shall be served at the conclusion of and in addition to any term of

imprisonment, the costs ofprosecution, denial ofcertain federal benefits,

and an assessment in the amount of $100. The maximum penalty for

possessing a firearm in furtherance of drug trafficking is imprisonment

for a period of life, a fine of $250,000, a maximum term of supervised

release of 5 years, to be determined by the Court, which shall be served

at the conclusion of and in addition to any term of imprisonment, the

costs of prosecution, denial of certain federai benefits, and an

assessment in the amount of $100. At the time the guilty plea is

entered, the defendant shall admit to the Court that the defendant is, in

fact, guilty ofthe offenses charged in the Superseding Information' The

defendant agrees that the United States may, at its sole election,

reinstate any dismissed charges or seek additional charges in the event

that any guilty plea entered or sentence imposed pursuant to this

Agreement is subsequently vacated, set aside, or invalidated by any
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Court. The defendant further agrees to waive any defenses to
                                                                    based
reinstatement ofthose charges, or the filing of additional charges'

upon laches, the assertion of speedy   trial rights, any applicable statute
                                                                   the
of limitations, or any other ground- The calculation of time under

speedy Triai Act for when   trial must commence is tolled   as of the date of

                                                        (a) the defendant
the defendant's signing of this Agreement. until either

pleads guilty; or (b) a new date is set by the Court for commencement of

trial
        2.    Dismi ssal of Counts. At the time of sentencing on the

 Information described above, the United states agrees to move for

 dismissal of the Indictment filed under case number 1:18'cr-48. The

 defendant agrees, however, that the United States may, at its sole

 election, reinstate any dismissed charges or seek additional charges in

 the event that any guilty plea entered or sentence imposed pursuant to

 thisAgreementissubsequentlyvacated,setaside,orinvalidatedbyany

 Court. The defendant further agrees to waive any defenses to

 reinstatementofthosecharges,orthefilingofadditionalcharges,based

 upon laches, the assertion ofspeedy    trial rights' any applicable statute
                                       3
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of u.mitations, or any other ground. The calculation of time under the

Speedy    Trial Act for when trial must commence is tolled as of the date
                                                           (a) the
of the defendant's signing of this Agreement, until either

defendant pleads guilty; or (b) a new date is set by the Court for

commencement of trial.

    3        Mandatorv Mi nlm um Sentence. Possession of a firearm in

furtherance of drug trafficking carries a mandatory minimum period of

imprisonment of 5 years. The sentence on this count shall be imposed

to run consecutively to an5r other term of imprisonment imposed on the

defendant.

    I         Term of Su pervi sed Relea se. The defendant also

understands that the Court may impose a term of supervised release

following any sentence of imprisonment exceeding one year, or when

required by statute. The Court may require a term of supervised

release in any other case. In addition, the defendant understands that

as a condition of any term of supervised release or probation'
                                                               the Court

must order that the defend.ant cooperate in the collection of a DNA

sample if the collection of a sample is so authorized by law'
                                       4
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     D         Maximum S entence   -   Mu Itiple Counts. The defendant

understands that the total, maximum possible sentence
                                                      for all charges

isthecombinationofpenaltiesdescribedaboveithatis,lifeinprison
                                                                costs of
and fines totaling $500,000, 5 years of supervised release' the

prosecution, denial of certain federal benefits and an assessment

totaling $200.

     6.         No Further Prose   t r.on. Exc ept Tax Char scs. The United
                                                                 agrees
States Attorney's Office for the Middle District of Pennsylvania

that it will not bring any other criminal charges against the defendant

directly arising out of the defendant's involvement in the offense(s)

described above. However' nothing in this Agreement        will limit

prosecution for criminal tax charges, if any, arising out ofthose

offenses.

B.   Fin      s and Asses sments

         7.     Fine. The defendant understands that the Court may

impose a fine pursuant to the Sentencing Reform Act of
                                                       1984' The

 willful tailure to pay any fine imposed by the Court' in full'
                                                                may     be


 considered a breach ofthis Plea Agreement'
                                            Further' the defendant
                                          5
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acknowledges that    willful failure to pay the fine may subject the

defendant to additional criminal violations and civil penalties pursuant

to Title 18, United States Code, $ 3611, et seq.

    8.       A1t ernative   Fine. The defendant understands that under the

alternative fine section ofTitle 18, United States Code, $ 3571, the

maximum fine quoted above may be increased if the court finds that

any person derived pecuniary gain or suffered pecuniary loss from the

offense and that the maximum fine to be imposed, if the Court elects to

proceed    in this fashion, could be twice the amount ofthe gross gain or

twice the amount of the gross loss resulting from the offense'

    9         Inrnate Financial Responsibili tv Plo sram. If the Court

orders a fine or restitution as part ofthe defendant's sentence. and the

sentence includes a term ofimprisonment, the defendant agrees to

voluntarily enter the United States Bureau of Prisons-administered

program known as the Inmate Financial Responsibility Program'

through which the Bureau of Prisons will collect up to 50% of the

defendant's prison salary, and up to 50% of the balance of the


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defendant,s inmate account, and apply that amount on the defendant's

behalf to the payment of the outstanding fine and restitution orders.

    10.       Speci a I Assessment. The defendant understands that the

Court will impose a special assessment of $200' pursuant to the

provisions of Title 18, United States Code, $ 3013' No later than the

date of sentencing, the defendant or defendant's counsel shall mail a

check in payment of the special assessment directly to the clerk, united

states District court, Middle District of Pennsylvania. If the defendant

intentionally fails to make this payment, that failure may be treated as

a breach of this Plea Agreement and may result in       further prosecution,

the filing of additional criminal charges, or a contempt citation'

    11.       Collection of Financia I o blieations. In order to facilitate the

collection of financial obligations irnposed in connection with this case,

the defendant consents and agrees:

          a   to fully disclose all assets in which the defendant has an

               interest or over rvhich the defendant has control. directly or

               indirectly, including those held by a spouse, nomlnee, or

               other third partyi
                                        7
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  b.    to submit to interviews by the Government regarding the

        defendant's financial statusi

  c.    to submit a complete, accurate, and truthful financial

        statement, on the form provided by the Government, to the

        United States Attorney's Office no later than 14 days

        following entrY of the guiltY Plea;

  d.    whether represented by counsel or not, to consent to contact

        by and communication with the Government, and to waive

        any prohibition against communication with a represented

        party by the Government regarding the defendant's

        financial status;

   e.   to authorize the Government to obtain the defendant's

        credit reports in order to evaluate the defendant's ability to

        satisfy any financial obligations imposed by the Courti and

   f.   to submit any financial information requested by the

        Probation Office as directed. and to the sharing offinancial

        information between the' Government and the Probation

        Office.
                                  I
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C.   Senten cine Guidelin es Calculation

     12.    Determination of Sente ncine Guidelines. The defendant

and counsel for both parties agree that the United Statcs Sentencing

Commission Guidelines, which took effect on November       l,   )987, and its

amendments (the "sentencing Guidelines"), will apply to the offense or

offenses to which the defendant is pleading    guilty. The defendant

understands that the Sentencing Guidelines are advisory and not

binding on the Court. The defendant further agrees that any legal and

factual issues relating to the application ofthe sentencing Guidelines to

the defendant's conduct, including facts to support any specific offense

characteristic or other enhancement ol adjustment and the appropriate

sentence within the statutory maximums provided for by law. will be

determined by the Court after briefing, a pre-sentence hearing, or a

sentencing hearing.

     13     Acce   ptan ce of Resnonsibilit v- Three Levcls. Ifthe defendant

can adequately demonstrate recognition and affirmative acceptance of

responsibility to the Government as required by the Sentencing

Guidelines, the Government will recommend that the defendant receive
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a three-level reduction   in the defendant's offense level for acceptance of

responsibility. The third level, if applicable, shall be within the

d.iscretion of the Government underu.s.s.G. $ 3E1.1. The failure of the

court to find that the defendant is entitled to a reduction shall not be a

basis to void this Agreement'

D.   Senten cine Re commendation

     14.     Special Conditions of Prob ationi Supe rvised Release.    If

probation or a term of supervised release is ordered, the United States

may recommend that the court impose one or more special conditions,

including but not limited to the following:

        a.   The defendant be prohibited from possessing a firearm or

             other dangerous weapon.

        h.   The defendant make restitution, if applicable, the payment

             of which shall be   in accoldance with a schedule to be

             determined bY the Court.

        c.   The defendant pay any fine imposed in accordance with a

              schedule to be determined by the Court'



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   d.    The defendanl be prohibited from incurring new credit

         charges or opening addifional lines ofcredit without

         approval ofthe Probation Office unless the defendant is in

         compliance with the payment schedule'

   e.    The defendant be directed to provide the Probation Office

         and the United States Attorney access to any requested

         financial information.

   f.    The defendant be confined in a community treatment

         center, halfway house, or similar facility'

   g.    The defendant be placed under home confinement'

   h.    The defendant be ordered to perform community serwice'

    I    The defendant be restricted from working in certain types of

         occupations or with certain individuals. if the Government

         deems such rcstrictions to be appropriate'

    j.   The defendant be directed to attend substance abuse

         counseling, which may include testing to determine whether

         the defendant is using dlugs or alcohol'


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        k.   The defendant be directed to attend psychiatric or

             psychological counseling and treatment in a program

             approved by the Probation Offlcer.

        l.   The defendant be denied certain federal benefits including

             contracts, grants, loans, fellowships and licenses'

        m. The defendant       be directed to pay any state or federal taxes

             and file any and all state and federal tax returns as

             required by law.

    15.      Rule   11 (c)(t)(C) B indine   AsreemenL. Pursuant to llule

t f (c)(f )(C) of the Federal Rules of   Criminal Procedure, the Government

and the defendant stipulate and agr€e to the following regarding the

defendant's offense level, criminal history category, and sentence: The

d.efendant be sentenced to a term of imprisonment of 14 years, a fine of

5500, a term of supelvised release of 3 years, and a $200 special

assessment. The palties agree that this sentence is a reasonable

sentence under the facts and circumstances of this case. If at

sentencing the Coui't faiis to accept the stipulations ofthe parties. or

imposes a sentence dilferent from that agreed to by the parties, then
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either the defendant or the United States has the right to withdraw

from this Agreement and any guilty plea entered pursuant to this

Agreement.

E   Forfeiture of Assets

    r6.        Forfeiture. The present Superseding Information seeks

forfeiture of the defendant's interests in certain assets. In the event the

United States seeks to forfeit those assets through a civil proceeding,

the defendant understands that dismissal of the criminal forfeiture

allegation in no way limits the United states from proceeding civilly

against any assets owned or held by the defendant or any other party'

Defendant agrees to settle any civil and criminal forfeiture matters

arising out of the offense of conviction and its relevant conduct. The

defendant agrees that the defendant's property constitutes proceeds of,

is derived from proceeds traceable to, or was used in any manner or

part to commit or facilitate lhe commission of the offense of conviction

and its relevant conduct. Defendant further agrees to the following:

          a.   Forfeiture of all properties, real and personal listed in the

               Forfeiture Allegation of the Indictment/Informationi
                                       13
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  b     Immediate entrv of the preliminary order of forfeiture or the

        filing of a civil complaint by the United States, pursuant to

        Title 18, United States Code, $ 981;

  C     Waiver of the right to personal service of all process and

        naming of Jason Asbell, Esquire as agent for service of ail

        plocess,

   d.   Waiver of the right to appear and contest any portion of the

        forfeiture proceedings, including but not limited to, any

        motion or proceeding for substitute assets;

   e    The filing and entry of a consent decree offorfeiturei

   f.   Disclosure, no later than upon signing this Agreement, of all

        persons and entities holding an equitable or legal interest in

        the property. real or personal, subjcct to forfeiture pursuant

        to this Agreementi

   C.   Concurrence in any motion necessary to be filed and signing

        any documents necessary to effectuate forfeiturei




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   h    Payment ofcosts associated rvith lhe seizure, storage, and

        maintcnance of any asset being returned to the defendant

        as a result of this Agreementi

   1    In the event any assets are being returned to the defendant,

        such return does not amount to having "substantially

        prevailed" in the pursuit of any claim. and lo make no claim

        against the United States or any of its agencies or

        employees. including claims for attorney's fees and costs of

        litigation;

   l    Waiver of any double jeopardy challenges the defendant

        may have to any administrative or civil forfeiture actions.

        pending or completed, arising out ofthe coursc ofconduct

        forming the basis for the forfeituresi and

   k.   Waiver of all constitutional, lega}. and equitable ciaims

        arising out of and defenses to the folfeiture of this property

        in any proceeding, including any claim of innocent

        ownership and any claim or defense under the Eighth

        Amendment, including any claim of excessive fine.
                                15
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    17.    Dest ruction OrderftVaivers. The defendant further agrees,

should the united States deem   it appropriate, to the destruction ofthe

items seized during the course ofthe investigation. The defendant

agrees that the items may be destroyed by the investigative agency    with

or without a court order authorizing the destruction of the items seized.

Ifthe United States determines that a destruction order should be
obtained. the defendant and defendant's counsel hereby concur in a

motion for such an order. The defendant further agrees to waive all

interest in the assets in any administrative or judicial forfeiture

proceeding, whether criminal or civil, state or federal. The defendant

consents and waives all rights to compliance by the United states with

any applicable deadlines under 18 U.S.C. $ 983(a). Any related

administrative claim filed by the defendant is hereby withdrawn' The

defendant agrees to consent to the entry of orders of forfeiture for such

property and waives the requiremcnts of Federal Rules of Criminal

Procedure 32.2 and.4S(a) regarding notice of the forfeiture in the

charging instrument, announcement ofthe forfeiture at sentencing, and

incorporation offorfeiture in the judgment.
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F.   Victims ' Rishts and Restitution

     t8        Victims'Ri hts. The defcndant understands that pursuant

to the Victim and Witness Protection Act, the Crime Victims' Rights

Act, the Justice for AII Act, and the regulations promulgated under

those Acts by the Attorney General of the United States, crime victims

have the following rights:

          a.   The right to be reasonably protected from the accused;

          b.   The right to reasonable, accurate, and timely notice ofany

               public court proceeding or any parole proceeding involving

               the crime, or ofany release or escape ofthe accusedi

          c.   The right not to be excluded from any such public court

               proceeding, unless the Court, after receiving clear and

               convincing evidence, determines that testimony by the

               victim would be altered materially if the victim heard other

               testimony at that proceedingi

          d.   The right to be reasonably heard at any public hearing in

               the Court involving release. plea, sentencing, or any parole

               proceeding. The defendant understands that the victims'
                                        t7
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        comments and recommendations at any of these proceedings

        may be different than those of the parties to thrs

        Agreementi

   e    The reasonable right to confer with the attorney for the

        Government in the case. The defendant understands that

        the victims' opinions and recommendations given to the

        attorney for the Government may be different than those

        presented by the United States as a consequence ofthis

        Agreementi

   f.   The right to full and timely restitution as provided for by

        larv. The attorney for the Government is required to "fully

        advocate the rights of victims on the issue of restitution

        unless such advocacy would unduly prolong or complicate

        the sentencing proceeding," and the Court is authorized to

        order restitution by the defendant including, but not limited

        to, restitution for property loss, economic loss, personal

        injury, or deathi

   C.   The right to proceedings.free from unreasonable delayi and
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          h.   The right to be treated with fairness and with respect lbr

               the victim's dignity and PrivacY.

    19.        Restitution. The defendant acknou'led ges that. pursuant to

the Mandatory Restitution Act of April 24, 7996, Title 18, United States

Code, $ 3663A, the Court is required     in all instances to order full

restitution lo all victims for the losses those victims have suffered as a

result ofthe defendant's conduct. The defendant also agrees that the

Government will seek and the Court may impose an order of restitution

as to victims of the defendant's relevant conduct.     With respect to the

payment ofrestitution, the defendant further agrees that, as part ofthe

sentence in this matter, the defendant shall be responsible for making

payment of restitution in full, unless the defendant can demonstrate to

the satisfaction of the Court that the defendant's economic

circumstances do not allow for the payment of full restitution in the

foreseeable future, in which case the defendant will be required to make

partial restitution payments. In addition to the schedule of payments

that may be established by the Court. the defendant understands and

agrees that, pursuant to the Mandatory Victims Rcstitution Act of 1996
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                                                               are
and the Justice For All Act of 2004, victims of federal crimes
                                                                    not
entitled to full and timely restitution. As such, these payments do

preclude the Government from using other assets or income of the

defendant to satisfy the restitution obligaiion' The defendant
                                                                 by
undersbands and agrees that the United States Attorney's Office'
                                                              and the
and through the Financial Litigation Unit, has the obligation

right to pursue any legal means, including but not limited to'
                                                          collect the
submission of the debt to the Treasury Offset Program' to

full amount of restitution owed to the victims in a timely fashion.
                                                                   of
Although the defendant may reserve the right to contest the amount

restitution owed, the deI'endant agrees to take all steps to facilitate

collection of all restitution, including submitting to debtor's exams
                                                                      as

                                                                    to
directed by the Government. Towards this goal, the defendant agrees

waive any further notice of forfeiture and agrees that the united states

 may, at its sole election, elect to pursue civil or criminal forfeiture in
                                                                            the

 amount of the victim restitution owed in this case. and the court may

 enter both a restitution order and a forfeiture judgment in the amount

 ofany unpaid restitution found by the court to be due and owing at the
                                       20
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time of sentencing in this matter. The defendant consents to the frling

of anv civil complaint or superseding information which may be

nccessary to perfect a forfeiture order and further stipulates and agrees

that the defendant's guilty plea constitutes an admission to all matters

legally and factually necessary for entry of a forfeiture order in this

case. The parties agree that the Government will recommend, but

cannot guarantee, that any assets recovered through forfeiture

proceedings be remitted to crime victims to reduce the defendant's

restitution obligation in this case. The defendant acknowledges that

the making of any payments does not preclude the Government from

using other assets or income of the defendant to satisfy the restitution

obligation. The defendant understands that the amount of restitution

calculated for purposes of Chapter 5 of the Sentencing Guidelines might

be different from the amount of loss calculated for purposes of Chapter

2 of the Sentencing Guidelines.

G. Information   Provided to Court and Probation Office

    20.    Background Information for Probation Officc. The

defendant understands that the United States will provide to the
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United States Probation Office all information in its possession that the

United States deems relevant regarding the defendant's background.

character. cooperation, if any, and involvement in this or other offenses.

    2L.    Objections to Pre-Sentence Report. The defendant

understands that pursuant to the United States District Court for the

Middle District of Pennsylvania's "Policy for Guideline Sentencing,"

both the United States and defendant must communicate to the

Probation Officer within 14 days after disclosure of the pre-sentence

report any objections they may have as to material information,

sentencing classifications, applicable Sentencing Guidelines ranges, and

policy statements contained in or omitted i'rom the repolt. The

defendant agrees to meet rvith the United States at least five days prior

to sentencing in a good faith attempt to resolve any substantive

differences. If any issues retnain unresolved, theSr shall be

communicated to the Probation Officer for inclusion in an addendum to

the pre-sentence report. The defendant agtees that unresolved

substantive objections will be decided by the Court after briefing, a pre'

sentence hearing, or at the sentencing hearing, where the standard or
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                                                             Rules of
proofwill be a preponderance ofthe evidence' and the Federai

Eviilence, other than with respect to privileges'
                                                  shall not apply under

Fed. R. Evid. 1101(d)(3), and the    court may consider any reliable
                                               defendant to thc pre-
evidence, including hearsay' Objections by the
                                                    grounds for
sentence report or the Court's rulings' will not be

withdrawal of a Plea of guiltY'

              Relevan Sentencin Info rmation. At sentencing,
                                                             the United
      22.

StateswillbepermittedtobringtotheCourt'sattention'andtheCourt
                                                              the
will be permitted to consider. all relevant information about

defendant'sbackground,characteranclconduct'includingtheconduct
                                                         has agreed to
that is the subject ofthe charges that the United States

 dismiss, and the nature and extent of the d'efendant's
                                                        cooperation'     if

 any. The United States will    be   entitled to bring to the Court's attention

 and the court will be entitled to consider any failure by
                                                           the defendant

 to   fulfill any obligation under this Agreement'
       OQ     Non-Limitati on on Gover nmcn t's Response. Nothing in this

 Agreement shall restrict or limit the nature or content of
                                                            the United

                                                             of the
 States' motions or responses to any motions filed on behalf
                                         Z,)
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defendant. Nor does this Agreement in any way restrict the

Government in responding to any request by the Court for briefrng,

argument or presentation of evidence regarding the application of

Sentencing Guidelines to the defendant's conduct, including but not

iimited to, requests for information concerning possible sentencing

departures.

H.   Court Not Bound b v Plea        ment

     .),1
              Court Not Bound bv Terms. The defendant understands

that the Court is not a party to and is not bound by this Agreement, or

by any recommendations made by the parties. Thus. the Court is free

to impose upon the defendant any sentence up to and including the

maximum sentence of imprisonment for life, a fine of $500.000, a

maximum term of supervised release of up to 5 years. which shall be

served at the conclusion of and in addition to any term of imprisonment.

the costs of prosecution. denial of certain federai benefits, and

assessments botaling $200.

     25.      No Withdrawa I of PIea Based on Sentence ol

RecommeanlaUiaas.     If the Court imposes a scntence with which the
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defendant is dissatisfied, the defendant wilt not be permitted to

withdraw any guilty plea for that reason alone, nor will the defendant

be permitted to   withdraw any guilty plea should the court decline to

follow any recommendations by any of the parties to this Agreement'

I.   Breach ofPlea Agreement bv Defendant

     26    Breach of Agreement. In the event tire United States

believes the defendant has failed to   fulfill any obligation under this

Agreement, then the United States shall, in its discretion, have the

option of petitioning the Court to be relieved of its obligations under

this Agreement. Whether the defendant has completely fulfilled all of

the obligations under this Agreement shall be determined by the Court

in an appropriate proceeding, during which any disclosures and

documents provided by the defendant shall be admissible, and during

which the United States shail be required to establish any breach by a

preponderance ofthe evidence. In order to establish any breach by ihe

defendant, the United States is entitled to rely on statements and

evidence given by the defendant during the cooperation phase ofthis

Ageement, if any.
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   27.        Remedies for Breach. The defendant and the United States

agree   that in the event the Court concludes that thc defendant has

breached the Agreement:

         a    The defendant will not be permitted to withdraw any guilty

              plea tendered under this Agreement and agrees not to

              petition for withdrawal of any guilty pleai

         b.   The United States will be frec, to rnake anv

              recommendations to the Court regarding sentencing in this

              case'

         C    Any evidence or statements made by the defendant during

              the cooperation phase of this Agreement. if any. will be

              admissible at any trials or sentencingsi

         d.   The United States will be frcc to bring any other charges     it
              has against the defendant, including any charges originally

              brought against the defendant ol which     ma5z   have been

              under investigation at the time ofthe plea. The defendant

              waives and hereby agrees not to raise any defense to the

              reinstatement ofthese charges based upon coilateral
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           estoppel, Double Jeopardy, statute of limitations' assertion

           of Speed,y Trial rights, or other similar grounds'

    28.    Violation of Law While Plea or Sentence Pendine' The
                                                               that the
defendant understands that it is a condition of this Agreement
                                                              or federal
defendant refrain from any further vio]ations ofstate, local,

law while awaiting plea and sentencing' The defendant acknowledges

and agrees that if the Government receives information that
                                                            the

                                                  plea or sentencing
defendant has committed new crimes while awaiting

inthiscase,theGovernmentmaypetitiontheCourtand'iftheCourt

finds by a preponderance ofthe evidence that the defendant has

committed any other criminal offense while awaiting plea or sentencing'
                                                             (a) withdraw
the Government shall be free at its sole election to either:
                                                                to
from this Agreementi or (b) make any sentencing recommendations

the Court that   it   deems appropriate' The defendant further

understands and agrees that, ifthe court finds that the defendant has

committed any other offense while awaiting plea or sentencing' the

defendant will not be permitted to withdraw any guilty pleas tendered


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pursuant to this Agreement, and the government will be permitted to

bring any additional charges that it     ma-v have   against the defendant.

J.   Deportation

     29.   Deporta tioniRemoval from t heU nited States. The

defendant understands that. if defendant is not a United States citizen,

deportation/removal from the United States is a consequence ofthis

plea. The defendant Iurther agrees that this mattel has been discussed

with counsel who has explained the immigration consequences of this

piea. The defendant still desires to enter into this plea after having

been so advised.

K.   Appeal Waiver

     30.    Aopea I Waiver   - Direct.   The defcndant is aware that Title

28, United States Code, $ 1291 affords a defendant the        right to appeal a

judgment of conviction and sentence: and that Title 18. United States

Code, $ 3742(a) affords a defendant the     right to appeal the sentence

imposed. Acknowledging all of this, the defendant knowingly waives

the right to appeal the conviction and sentence. This waiver includes

any and all possible grounds for appeai, whether constitutional or non-
                                       28
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constitutional, including, but not limited to, the manner in which that

sentence was determined in light of United States v. Booker,543 U.S.

220   e00il.   The defendant further acknowledges that this appeal

waiver is binding only upon the defendant and that the United States

retains its right to appeal in this   case.

      31.   Collateral Appeal Waiver. The defendant acknowledges,

understands and agrees that, by pleading guilty pursuant to this

Agreement, the defendant voluntarily and knowingly waives the right

to collaterally attack the defendant's conviction,, sentence, or any other

matter relating to this prosecution, including but not limited to   a

motion to vacate judgment under Title 28, United States Code, Section

2255i a petition for a   writ of habeas corpus under Title 28, United

States Code, Section 2241i a motion to amend or for relief from

judgment under Rules 59 or 60 of the Federal Rules of Civil Procedurei

and a petition for a writ ofcoram nobis, audita querela, or any other

extraordinary   writ. Nothing in the foregoing waiver   of rights shall

preclude the defendant from raising a claim ofineffective assistance of

counsel. In the event the defendant raises a claim ofineffective
                                       29
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assistance ofcounsel, the defendant hereby agrees (a) that the

Government retains its right to oppose any such claim on procedural or

substantive groundsi and (b) to counsel for the United States conferring

with any of the defendant's prior counsel whose performance is attacked

in such   a claim, for purposes of preparing any response or   for any

hearing necessitated by the filing of such a claim.

    32.      Appeal Waiver Breach. The defendant acknowledges that

pursuing a direct appeal or any collateral attack waived in the

preceding paragraph(s) may constitute a breach of this Agreement. The

Government recognizes that the mere filing of a notice of appeal is not a

breach of Lhe Agreement. The Government may declare a breach only

after the defendant or the defendant's counsel thereafter states. either

orally or in writing, a determination to proceed with an appeal or

collateral attack raising an issue the Government deems barred by the

waiver. The parties acknowledge that the pursuit of an appeal or any

collateral attack constitutes a breach only   ifa court determines that the
appeal or collateral attack does not present an issue that a judge may

reasonably conclude is permitted by an exception to the waiver stated in
                                    30
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the preceding paragraph(-") or constitutes a "rniscarriage ofjustice" as

that term is defined in applicable larv.

L.   Other Provisions

     33.     Asreement No t Bindine                           Nothing in this

Agreement shall bind any other United States Attorney's Office, state

prosecutor's office, or federal, state or local law enforcement agency'

     34.     No Civii Claims or Suits. The defendar.rt a grees not to

pursue or initiate any civil ciaims or suits against the United States of

America, its agencies or employees, rvhether or not presently known to

the defendant. arising out o1'the investigation. prosecution or

cooperation, if any, covered by this Agreement. including but not

Iimited to any claims for attolney's   {'ees   and other litigation expenses

arising out ofthe investigation and prosecution ofthis matter. By the

defendant's guilty plea in this matter the defendant further

acknowledges that the Govelnment's position in this litigation was

taken in good faith, had a substantial basis in law and fact and was not

vexatious.
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    35.     FOIA Waiver. The defendant rvaives ail rights, whether

asserted directly or by a representative, to request or receive from any

department or agency ofthe United States any records pertaining to the

investigation or prosecution of this case. including without limitation

any records that may be sought under the Freedom oflnformation Act,

5 U.S.C. $ 552, or the Privacy Act. 5 U.S.C. $ 552a.

    36.    Plea Aereement Serv es Ends of Justice. The United States

is entering this Agreement r.vith the defendant because this disposition

ofthe matter fairly and adequately addlesses the gravity ofthe

offense(s) from which the charge(s) is/are drawn. as weli as the

defendant's role in such offense(s). therebv serwing the ends ofjustice.

    37.    Mereer of All Prior Nesotiations. This document states the

complete and only Agreement betrveen the United States Attorney for

the Middle District of Pennsvlvania and the defendant in this case, and

is binding only on the parties to this Agr.cernent and supersedes all

prior understandings or plea offers, rvhether rvritten or oral. This

agreement cannot be modificd other than in u,riting that is signed by all

parties or on the record in court. No other promises or inducements
                                    D')
                                    rta
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have been or will be made to the defendant in connection with this case.

nor have any predictions or threats been rnade in connection with this

plea. Pursuant to Rule 11 of the F'ederal Rules of Criminai Procedure.

the defendant certifies that the defendant's plea is knowing and

voluntary, and is not the result of folce oi' threats or promises apart

from those promises sct forth in this ,\grecment.

    38.    Defendant is Satisfied rvith -t\ssistance of Counsel. The

Defendant agrees that the defendant has discussed this case and this

Agreement in detail with the defendant's attorncy, who has advised thc

defendant ofthe defendant's Constitutional and other trial and

appellate rights, the nature of the charges, the elements of the offenses

the United States would have to prove at trial. the evidence the United

States would present at such ti'ial. possible defenses. the advi.sory

Sentencing Guidelines and other aspects of sentencing, potential losses

of civil rights and privileges. and other potential consequences of

pleading guilty in this case. The defendant agrees that the defendant is

satisfied with the legal services and :rclvice provided to the defendant by

the defendant's attorney.
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    39.     Deadline for Acceptance of plea Agreement. The original of

this Agreement must be signed   b1,   the defendant and defense counsel

and received by the United States Attorney's Office on or before b:00

p.m., Monday, February 15,2021. otherwise the offer may, in the soie

discretion of the Government. be deemed rvithdrawn.

    40.     Required Sisnatures. None of the terms of this Agreement

shall be binding on the Office of the United Stares Attorney for the

Middle District of Pennsylvania until signed by the clefendant and

defense counsel and then signed by the    united states Attorney or his

designee.




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                                      ACKNOWLEDGMENTS

     I have read this agreement ancl carefully reviewed every part of it
with my attorney. I fully undei'stand it and I voluntarily agree to it.
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Datc                                                   Hr\RL S NOLDEN                  cr
                                                      I)ef'endant                            f"'(
         I am the defendant's counsel. i have carefully reviewed every part
of this agreement with the defendant. To rny knowledge, my client's
decision to enter into this agre ement is an informed and volunt arv one.
         4
   t-lrt 1"t
Date                                                BELL
                                                      (lou        I fol Defendant

                                                      BRUCE D. BRANDLER
                                                      Acting United States Attorney


   '/r       2                             By':
Date                                                  SCOTT R. FORD
                                                      Assistant United States Attorney


sRl/2/9/2021
YERS,ON l)t'l'li: Nolenrber 5. 2020




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